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                                    #:1487



                   UNITED STATES COURT OF APPEALS                       FILED
                          FOR THE NINTH CIRCUIT                          SEP 3 2024
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                      No. 24-4040
                                               D.C. No.
            Plaintiff - Appellee,
                                               2:24-cr-00091-ODW-1
 v.                                            Central District of California,
                                               Los Angeles
ALEXANDER SMIRNOV,
                                               MANDATE
            Defendant - Appellant.



      The judgment of this Court, entered August 05, 2024, takes effect this date.

      This constitutes the formal mandate of this Court issued pursuant to

Rule 41(a) of the Federal Rules of Appellate Procedure.



                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT
